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                    BEFORE AN INDEPENDENT HEARING OFFICER
              APPOINTED BY THE INDIANA DEPARTMENT OF EDUCATION
                           PURSUANT TO 511 IAC 7-45-3

 In the Matter of the Article 7 Hearing Regarding:

 C.W., by their parent and next friend B.W.,

                  Petitioner,
                                                             Hearing Number: HR-095-2018
 and

 Carmel Clay Schools,

                 Respondent.


                                 ORDER ISSUES FOR HEARING

The Independent Hearing Officer (IHO) has jurisdiction in the Due Process matter pursuant to a
letter of appointment from the Indiana Department of Education. According to documents sent
by the Indiana Department of Education to the IHO, the parent(s) made the request for a due
process hearing on June 4, 2018. The Indiana Department of Education received this request on
June 4, 2018. An appointment of an IHO was made on June 7, 2018. This is an administrative
hearing pursuant to Indiana’s special education rules in the Indiana Administrative Code at 511
IAC 7-32 through 7-49 (hereinafter “Article 7”).

Pursuant to 511 IAC 7-45-7(f) the IHO submits the following Issues for Hearing:

       1. Whether Respondent, since April 2018, developed appropriate individualized education
          plans (IEPs) covering all areas of the student’s needs which were reasonably calculated to
          provide meaningful education benefit pursuant to Article 7, as well as the relevant
          portions of IDEA and case law, and if not, whether Respondent’s failure denied the
          student a free appropriate public education.1




1
 This is a broad issue. This issue includes whether the IEPs developed included measurable goals,
necessary accommodations, and special education and related services. Proposed Issue 2 was a more
specific statement of related services, and is therefore consolidated into Issue 1.



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    2. Whether the IEPs developed by Respondent, since April 2018, provided for an
       appropriate education in the least restrictive environment (LRE) pursuant to Article 7, as
       well as the relevant portions of IDEA and case law, and if not whether this denied the
       Student a free appropriate public education.2

    3. Whether Respondent failed to consider placement options; other than a residential
       placement, to determine if they were appropriate, in accordance with Article 7, as well as
       the relevant portions of IDEA and case law, and if so, whether this failure denied the
       student a free appropriate public education.

    4. Whether, during the statutory period of two years prior to the filing of the due process
       hearing request, Respondent provided extended school year services to the student in
       accordance with Article 7, as well as the relevant portions of IDEA and case law, if so,
       whether they were appropriate to provide a free appropriate public education and if not,
       whether this failure denied the student a free appropriate public education.

    5. Whether, during the statutory period of two years prior to the filing of the due process
       hearing request, Respondent provided the Student with a fully-compliant transition
       evaluation and transition IEP, pursuant to Article 7, as well as the relevant portions of
       IDEA and case law, and if not, whether this failure denied the student a free appropriate
       public education.3

    6. Whether the proposed residential placement would be contrary to transition planning
       pursuant to Article 7, as well as the relevant portions of IDEA and case law, and if so,
       whether this denied the student a free appropriate public education.

    7. Whether, during the statutory period of two years prior to the filing of the due process
       hearing request, Respondent failed to provide the student with special education and
       related services during removals pursuant to Article 7, as well as the relevant portions of
       IDEA and case law, and if not, whether this failure denied the student a free appropriate
       public education.

2
 Proposed Issue 1 mentions placement, and Proposed Issue 5 addresses LRE, these two issues have been
consolidated here. This includes the proposed May 28, 2018 IEP.


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DATE: October 12, 2018.




                                                   _____________________________
                                                   Bethany Redinbo
                                                   Independent Hearing Officer


Distribution (via I-CHAMP):

Catherine Michael, Sonja Kerr, Hollingsworth & Zivitz, Attorney for Petitioner Parent
Thomas W. Blessing, Massillamany Jeter & Carson, Co-counsel for Parent
Andrew Manna, Jessica Heiser, CCH + A, Attorney for Respondent School
Office of Special Education, Indiana Department of Education – file copy




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